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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                            DISTRICT OF COLUMBIA


JOHN DOE,                                       19 Civ. 03097 (APM)

                         Plaintiff,             _____________________________

               v.                               HEARING REQUESTED

AMERICAN UNIVERSITY,

                         Defendant.




                    MOTION FOR PARTIAL SUMMARY JUDGMENT

       Pursuant to Federal Rule of Civil Procedure 56, John Doe hereby moves for partial

summary judgment on his breach of contract claim (Count III). As explained more fully in the

Memorandum accompanying this Motion, John Doe is entitled to judgment on his claim that the

defendant, American University (“AU”), wrongly accepted and then investigated a complaint

made by Jane Roe alleging that John Doe had sexually assaulted her after the time period

specified in the Student Conduct Code and University Policy on Discrimination and Sexual

Harassment had passed. See ECF No. 3 (Complaint) at ¶¶ 260-270. There is no genuine dispute

that Ms. Roe filed her complaint more than one year after the alleged incident giving rise to her

complaint. John Doe therefore respectfully moves for an order requiring AU to vacate its finding

of responsibility against Mr. Doe for sexual assault and rescind the sanctions imposed on him

based on that finding.




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                                         Respectfully submitted,

                                         /s/ William E. Zapf

DATED: December 23, 2019                 Matthew G. Kaiser (D.C. Bar No. 486272)
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